                      UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN


SCARLETT PAVLOVICH,

                    Plaintiff,

v.                                             Case No. 25-CV-00078

NEIL GAIMAN and
AMANDA PALMER,

                    Defendants.


                                 MOTION TO DISMISS


             Defendant Neil Gaiman hereby moves the Court to dismiss the

complaint filed in this case. Specifically, Gaiman moves to dismiss (1) the entire

complaint because the doctrine of forum non conveniens dictates that New Zealand is

the proper forum to adjudicate this case; (2) the Trafficking Victims Protection Act

(“TVPA”) claims (causes of action one through four) pursuant to Fed. R. Civ. P.12(b)(6)

because they cannot be applied extraterritorially; (3) the entire complaint because

the doctrine of prudential exhaustion requires plaintiff to exhaust the remedies

available in New Zealand before bringing claims within the United States; (4) the

entire complaint because international comity dictates that United States courts

must abstain from adjudicating acts committed within the jurisdiction of a foreign

nation; and (5) the common law tort claims (causes of action five through nine)

pursuant to 28 U.S.C. § 1367 because if the TVPA claims are dismissed for any

reason, the Court will lack jurisdiction over the tort claims. In support of this motion,
Gaiman submits the supporting brief that is being filed contemporaneously herewith.

Dated: March 4, 2025.                 Respectfully submitted,


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